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              Exhibit A
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                          DECLARATION OF MICHAEL GUTIERREZ


         1.      I am employed by Consilio as a Director of Forensic Services. The primary focus

 of my work is on digital forensic analysis, investigation, and reporting of computer and mobile

 device activity in litigation.

         2.      I held the role of Director of Forensic Services at Xact Data Discovery (“Xact”),

 which combined business operations with Consilio in 2021, and I previously held the role of

 Vice President of Forensic Services at Orange Legal Technologies, which was acquired by Xact

 in 2015. I had worked with Orange Legal Technologies since 2000.

         3.      I am certified by the International Society of Forensic Computer Examiners

 (“ISFCE”). I am a Certified Computer Examiner (“CCE”). The ISFCE provides an

 internationally recognized certification that is available to all who can qualify. The IFSCE

 certifies CCEs solely based on their knowledge and practical examination skills and abilities as

 they relate to the practice of digital forensics.

         4.      I have been involved in the preservation and forensic examination of thousands of

 electronic devices and I have been the primary forensic examiner in over 200 assignments over

 the past five years.

         5.      In March 2018, Xact was retained by Vaughan & Murphy to perform forensic

 imaging of the mobile device belonging to Scott Brady.

         6.      On March 27, 2018, Mr. Brady personally delivered his phone, an iPhone 6s

 bearing serial number FFNSL43QHFLR, to Steven Vandemark, a Discovery Consultant in

 Xact’s Atlanta office. Subsequently, Mr. Vandemark connected the device to a forensic

 workstation. Dowanna Cooper, an Xact Forensic Examiner who reported to me, remotely




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 connected to the forensic workstation and initiated the forensic extraction process using

 Cellebrite Physical Analyzer, version 7.2.1.4.

        7.      Cellebrite is an industry-leading mobile forensic data extraction and analysis tool.

 For iPhones, Cellebrite offers two methods of extracting data, based on the two mechanisms

 available to extract data from Apple devices. Both methods, “Method 1” and “Method 2”, were

 performed successfully. The device was returned to Mr. Brady upon completion.

        8.      I know the forensic extraction process was complete and accurate because I

 reviewed the forensic extraction logs along with the collections and the forensic software

 expressly indicated that the extractions were successful and the extractions opened in Cellebrite

 without error, displaying expected content. Cellebrite leverages the iTunes backup protocol to

 create a copy of the committed SQLite databases containing this information, including the

 underlying data and metadata.

        9.      Based on my training, experience, and involvement in collecting and preserving

 digital mobile devices, and my regular use of the tools and methods of imaging described above,

 I am qualified to authenticate the digital image referenced in this paragraph as a true and accurate

 duplicate of the original data:

                   Original Device                Date of Image       Image Identifier


          Apple iPhone 6s
          Serial Number: FFNSL43QHFLR March 27, 2018 IMEI: 359157079560756
          Operated by Scott James Brady



        10.     On May 9, 2018, Xact was instructed to provide a copy of Mr. Brady’s iPhone

 image to Consilio. The image was electronically transferred to Jeven Adami of Consilio’s Digital

 Forensics and Expert Services team, who confirmed receipt the same day.


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        Under the penalties of perjury under the laws of the United States, I certify that the above

 is complete, true, and correct, and if called as a witness, I could competently testify thereto.




                Executed on this ___ day of November, 2021.



                                                ______________________________
                                                MICHAEL GUTIERREZ




                                                   3
